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                       UNITED STATES DISTRICT COUR~T~__~~~~--~
                     SOUTHERN DISTRICT OF CALIFO IA                       FI t,.E
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UNITED STATES OF AMERICA,                  CASE NO. 12CR2     78-(i~~ :,;~~~
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                                                                                                IftI'I'I,f'If"'f
                       Plaintiff,
                                                              'If
              vs.                          JUDGMENT OF DISMISSAL
MIGUEL ORDUNO,
                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 x__ the Court ha~ .granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty: or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     21:952 and 960: 18:2 - Importation of Marijuana; Aiding and Abetting



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JUNE 7, 2012
                                                                           ,
                                            David H. Bartick
                                            U.S. Magistrate Judge
